      Case 2:11-cv-00084 Document 1464 Filed on 12/04/23 in TXSD Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

 M.D., b/n/f Sarah R. Stukenberg, et al.,        §
                                                 §
         Plaintiffs,                             §
 v.                                              §
                                                 §                 Civil Action No. 2:11-CV-00084
 GREG ABBOTT, in his official capacity as        §
 Governor of the State of Texas, et al.,         §
                                                 §
         Defendants.                             §

                  INITIAL WITNESS LIST FOR SHOW-CAUSE HEARING

        Pursuant to agreement of the parties, plaintiffs respectfully submit their designation of

witnesses for the show-cause hearing that begins on December 4, 2023. Plaintiffs intend to call

these witnesses to further demonstrate why defendants should be held in contempt and sanctioned

or a receivership imposed. As the parties agreed, plaintiffs reserve their right to amend this list and

call fewer or other witnesses, including those named on the defense witness list or identified in the

parties’ ongoing discovery proceedings. Plaintiffs designate the following witnesses to testify:

        1.   Erica Bañuelos, DFPS Assoc. Commissioner, Child Protective Services

        2.   Christopher Bellonci, M.D., concerning use, risks, and significance of psychotropic
             medications in foster care, DFPS Psychotropic Medication Utilization Parameters,
             DFPS oversight practices, resulting safety risks to children, related issues

        3.   Christie Carrington, fmr. DFPS supervisor in family-based safety services

        4.   Ora Chisom, fmr. DFPS Dir., Foster Care Litigation Compliance

        5.   Trisha Evans, fmr. Dir., C3 Christian Academy

        6.   Lindsey Dionne, attorney ad litem and fmr. DFPS Administrative Unit attorney

        7.   Cristina Guerrero, DFPS CPS, Residential Contract Dir. II for RCC Facilities on
             Heightened Monitoring

        8.   Jackie Juarez, fmr. PMC child

        9.   Kelsey Lammons, DFPS Contract Performance Manager
Case 2:11-cv-00084 Document 1464 Filed on 12/04/23 in TXSD Page 2 of 3




  10.   Gina Magliolo, DFPS conservatorship caseworker for PMC children

  11.   Viola Miller, fmr. Sec. of Cabinet for Ky. Families & Children and Comm’r of
        Tenn. Dep’t of Children Servs., concerning risks and significance of abuse and
        neglect investigations in residential placements for developmentally delayed
        children, monitoring, management, and risks of psychotropic medications in foster
        care, risks and impact on children and caseworkers of Texas practices for placing
        foster children in unlicensed facilities, risks and significance of children
        understanding how to report abuse and neglect, risks and significance of timely
        notifying caregivers of children’s sexual abuse or aggression history, related issues

  12.   Jamie Najera, DFPS Dep. Dir., Purchased Client Services

  13.   Audrey O’Neil, DFPS Deputy Commissioner for Programs

  14.   Stephen Pahl, HHSC Deputy Exec. Commissioner for Regulatory Services

  15.   Ashly Parratto, DFPS Foster Care Litig. Dir., Quality Assurance

  16.   Julie Pennington, attorney ad litem for PMC children

  17.   Hannah Reveile, fmr. DFPS conservatorship caseworker and CVS Specialist II

  18.   Marta Talbert, DFPS Assoc. Commissioner for Child Protective Investigations

  19.   Dr. Ryan Van Ramshorst, HHSC Chief Med. Dir., Medicaid/CHIP Services

  20.   Kason Vercher, DFPS Residential Contract Dir., Gen. RCC Facilities

  21.   Rebecca Weirether, HHSC Dir. Of Policy and Rules for Long-Term Care Regs.




                                          -2-
    Case 2:11-cv-00084 Document 1464 Filed on 12/04/23 in TXSD Page 3 of 3




 Dated: December 4, 2023                         Respectfully submitted,

                                                 /s/ R. Paul Yetter
 Samantha Bartosz (pro hac vice)                 R. Paul Yetter
 Stephen Dixon (pro hac vice)                    State Bar No. 22154200
 CHILDREN’S RIGHTS                               Christian J. Ward
 88 Pine Street                                  State Bar No. 24033434
 New York, New York 10005                        Karla Rosali Maradiaga
 (212) 683-2210                                  State Bar No. 24126746
 sbartosz@childrensrights.org                    YETTER COLEMAN LLP
                                                 811 Main Street, Suite 4100
 Marcia Robinson Lowry (pro hac vice)            Houston, Texas 77002
 A BETTER CHILDHOOD, INC.                        (713) 632-8000
 355 Lexington Avenue, Floor 16                  pyetter@yettercoleman.com
 New York NY 10017
 (646)795-4456                                   Barry F. McNeil
 mlowry@ABetterChildhood.org                     State Bar No. 13829500
                                                 HAYNES AND BOONE, LLP
                                                 2323 Victory Ave., Suite 700
                                                 Dallas, Texas 75219
                                                 (214) 651-5000
                                                 barry.mcneil@haynesboone.com

            ATTORNEYS FOR PLAINTIFFS AND THE GENERAL CLASS AND SUBCLASSES


                                   CERTIFICATE OF SERVICE

       I certify that on the 4th day of December, 2023, a true and correct copy of this document
was served on all counsel of record via email.
                                                            /s/ R. Paul Yetter
                                                            R. Paul Yetter




                                              -3-
